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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Sea Shipping Line, Inc.

v.                                               Case Number: 4:22−cv−00550

My Equipment, LLC




                                Notice of Resetting

A proceeding has been reset in this case as set forth below.

BEFORE:
Chief Judge Lee H Rosenthal
LOCATION:
by video
United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 11/17/2022
TIME: 11:40 AM
TYPE OF PROCEEDING: Initial Conference


Date: November 9, 2022                                         Nathan Ochsner, Clerk
